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                                    Christopher
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                                       isttophher L. Ray
                                    United States Magistrate Judge
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